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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
LIZA LORING MAZZA,
                                    Plaintiff,                              20 CIVIL 10062 (VSB)

                 -against-                                                      JUDGMENT

COMMISSIONER OF SOCIAL SECURITY,
                                    Defendant.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion & Order dated May 9, 2022, although the Report and

Recommendation explicitly provided that "the parties shall have fourteen (14) days from receipt

of the Report to file written objections" and "FAILURE TO OBJECT WITHIN FOURTEEN

(14) DAYS WILL RESULT IN A WAIVER OF OBJECTIONS AND WILL PRECLUDE

APPELLATE REVIEW," neither party filed an objection or requested additional time to file an

objection. The Court has reviewed Judge Willis’s thorough and well-reasoned Report and

Recommendation for clear error and, after careful review, found none. The Report and

Recommendation is adopted in its entirety and the case is remanded pursuant to sentence four of

Section 405(g); accordingly, the case is closed.

Dated: New York, New York
       May 10, 2022

                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                             Deputy Clerk
